                           UNITED STATES BANKRUPTCY COURT

                                   DISTRICT OF NEW MEXICO

In re:

ROMAN CATHOLIC CHURCH OF THE
ARCHDIOCESE OF SANTA FE,                                                 No. 18-13027 t11

         Debtor.

ROMAN CATHOLIC CHURCH OF THE
ARCHDIOCESE OF SANTA FE,

         Plaintiff,

v.                                                                       Adv. No. 20-1026 t

UNITED STATES OF AMERICA
SMALL BUSINESS ADMINISTRATION,

         Defendant.

                                        FINAL JUDGMENT

         For the reasons set forth in the opinion entered herewith, it is hereby ORDERED,

ADJUDGED AND DECREED:

         1.      Pursuant to 5 U.S.C. § 706(2)(A), the Court holds unlawful Defendant’s exclusion

of Plaintiff from eligibility to participate in the Paycheck Protection Program (the “PPP”), enacted

as part of the Coronavirus Aid, Relief, and Economic Security Act, H.R. 748, P.L. 115-136in that

the exclusion is arbitrary and capricious.

         2.      Pursuant to 5 U.S.C. § 706(2)(C), the Court holds unlawful Defendant’s exclusion

of Plaintiff from eligibility to participate in the PPP in that the exclusion is in excess of Defendant’s

statutory jurisdiction, authority, or limitations or short of statutory right.

         3.      The Court declares that Defendant’s attempt to exclude Plaintiff from the PPP

solely on the ground that Plaintiff is a chapter 11 debtor-in-possession violates 11 U.S.C. § 525(a).




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       4.        Pursuant to 5 U.S.C. § 706(1), the Court hereby compels Defendant to act on

Plaintiff’s PPP loan application forthwith without regard to Plaintiff’s status as a chapter 11 debtor

in possession.

       5.        If Defendant’s actions, whether taken heretofore or in the future, are the proximate

cause of Plaintiff losing its requested $900,000 in PPP funds, Plaintiff may file an adversary

proceeding against Defendant for compensatory and, if appropriate, punitive damages.




                                               ____________________________________
                                               Hon. David T. Thuma
                                               United States Bankruptcy Judge


Entered: May 1, 2020
Copies to: counsel of record




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